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                              EXHIBIT 6
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                                     July 20, 2023

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  · · ·UNITED STATES DISTRICT COURT
  · · ·SOUTHERN DISTRICT OF FLORIDA
  · · ·-----------------------------------------x
  · · ·JIANGMEN BENLIDA PRINTED CIRCUIT CO.,
  · · ·LTD.,

  · · · · · · · · · · · · · · · · · Plaintiff,              :

  · · · · · · · · · ·- against -

  · · ·CIRCUITRONIX LLC,

  · · · · · · · · · · · · · · · · ·Defendant.· ·:
  · · ·-----------------------------------------x
  ·
  · · · · · · · · · · ·1350 Avenue of the Americas
  · · · · · · · · · · ·New York, New York

  · · · · · · · · · · ·July 20, 2023
  · · · · · · · · · · ·9:40 a.m.
  ·

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  · · · · · · ·EXAMINATION BEFORE TRIAL of RANDALL M.

  · · ·PAULIKENS, CPA/AVB/CFF/CITP, and Expert

  · · ·Witness on behalf of the Plaintiff herein,

  · · ·taken by the Defendant, pursuant to Court

  · · ·Order, held at the above-mentioned time and

  · · ·place, before Michelle Lemberger, a Notary

  · · ·Public of the State of New York.

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  ·1· · · · · · · · · · R. Paulikens

  ·2· · owes CTX on one set of data by -- and I'll

  ·3· · use 5 million for simple illustration, but

  ·4· · the Hong Kong entity is owed 13 million.· So

  ·5· · it's a net 8 million that Benlida owes.

  ·6· · · · · · And I was pointing out that the KM

  ·7· · report didn't cover that issue, didn't

  ·8· · address it, didn't even mention it.· So

  ·9· · that's why I put different examples and

  10· · caveated them, was dependent upon the data

  11· · source.

  12· · · · Q.· So on page 4 of your report, there's

  13· · a paragraph that begins, The significant

  14· · disparity.

  15· · · · · · Do you see that?

  16· · · · A.· Yes.

  17· · · · Q.· Three lines down at the right side

  18· · it begins a sentence that says, quote, As we

  19· · will show information from KM and others show

  20· · that CTX HK owes about $13 million, close

  21· · quote.

  22· · · · A.· Yes.

  23· · · · Q.· That's the high-end range -- well,

  24· · no, that's the highest number I think I've

  25· · seen in your report that you refer to,


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  ·2· · correct?

  ·3· · · · A.· That might be.

  ·4· · · · Q.· Okay.

  ·5· · · · A.· That might be.· And could I make a

  ·6· · correction?· The date of the e-mail that I

  ·7· · referenced, I typed wrong.

  ·8· · · · Q.· Let's -- we'll get to that later.

  ·9· · Let's just stay on this issue.

  10· · · · A.· Okay.

  11· · · · Q.· So with respect to the statement you

  12· · say, As we will show, information from KM and

  13· · others show that CTX HK owes about

  14· · $13 million, have you done an independent

  15· · calculation to come up with that figure?

  16· · · · A.· No.· What I did was I took one of

  17· · the files that we went through on the thumb

  18· · drive that was produced to your expert, which

  19· · was from his files that showed the HK -- I'll

  20· · call it the HK portion.

  21· · · · Q.· You're referring to the Circuitronix

  22· · Hong Kong?

  23· · · · A.· Yes.

  24· · · · Q.· Okay.

  25· · · · A.· It showed the same blue highlighted


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  ·2· · amounts, it showed invoices, debit memos,

  ·3· · payments, and it showed that the running

  ·4· · total at one point was $13 million.· It's

  ·5· · reprinted as part of a report and that came

  ·6· · directly from the KM files.

  ·7· · · · Q.· Let me direct you to page 8 of your

  ·8· · report, to the blue highlighted chart, and

  ·9· · ask you whether that's the one you're

  10· · referring to.

  11· · · · · · · ·(Witness peruses document.)

  12· · · · Q.· At the top of the page.

  13· · · · A.· Yes.· And there's the 13 million.

  14· · · · Q.· That's the one that says, Balance

  15· · due slash credit balance, and it's got 13.492

  16· · million?

  17· · · · A.· Correct.· And that was -- the source

  18· · document came from CTX Hong Kong was part of

  19· · the reconciliations that they were doing in

  20· · 2019, and that particular file came from your

  21· · expert's files.

  22· · · · Q.· So let me do this, because I know

  23· · that you marked certain of these charts with

  24· · the blue highlighting as exhibits to your

  25· · report, right?


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  ·2· · · · A.· Yes.· We printed some of them.

  ·3· · · · Q.· If we look on the screen, I have

  ·4· · your PDF right here.· It says, Paulikens'

  ·5· · open report.

  ·6· · · · · · · ·MR. LERNER:· Also, note for the

  ·7· · · · ·record Exhibit 144 does not include

  ·8· · · · ·all of the attachments.

  ·9· · · · · · · ·MR. ROSENTHAL:· Correct.

  10· · · · ·Otherwise it would be ten times as

  11· · · · ·long.

  12· · · · · · · ·THE WITNESS:· Can we take a

  13· · · · ·five-minute break?

  14· · · · · · · ·MR. ROSENTHAL:· Sure.

  15· · · · · · · ·(Whereupon, a brief recess was

  16· · · · ·taken.)

  17· ·BY MR. ROSENTHAL:

  18· · · · Q.· Mr. Paulikens, I'm showing you a

  19· · copy of your report on the computer screen

  20· · because this copy of it, digital copy, has

  21· · the exhibits which are voluminous.

  22· · · · A.· Okay.

  23· · · · Q.· They are not printed out in

  24· · Exhibit 144.

  25· · · · · · So I want to ask you whether the


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  ·2· · blue highlighted chart that appears at the

  ·3· · top of page 8 of your report that you were

  ·4· · just talking about is the same one that

  ·5· · appears as Exhibit 3?

  ·6· · · · A.· I have to get up.

  ·7· · · · Q.· Please.· And then I'll scroll down

  ·8· · and rotate this.· The top says, Source,

  ·9· · Benlida shipment and payment details CTX-HK

  10· · 2012 to 2019.

  11· · · · · · And you might want to take your

  12· · report with you, just to --

  13· · · · A.· That looks like the same chart.

  14· · Because it was brought forward from the

  15· · exhibit, certainly the numbers agree.

  16· · · · Q.· Okay.· So those are the same two

  17· · things, right?

  18· · · · A.· Yes.· And this is the exact -- this

  19· · is the exhibit?

  20· · · · Q.· You're asking me?

  21· · · · A.· Yes.

  22· · · · Q.· Yes, see, it says Exhibit 3?

  23· · · · A.· Exhibit 3, and is there pages behind

  24· · it?

  25· · · · Q.· Yes.


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  ·2· · · · A.· Okay, there's detail, yes.

  ·3· · · · Q.· So I want to just ask you something

  ·4· · else about the source document for this chart

  ·5· · that is Exhibit 3 to your report, and also

  ·6· · appears on page 8 of it.

  ·7· · · · · · In your document that you provided

  ·8· · us, and I'm pulling it up on the screen, I'm

  ·9· · going into the folder called, Further

  10· · documents reviewed by Randall Paulikens.               I

  11· · want to show you the document that matches

  12· · that title, which is Benlida shipment and

  13· · payment details.· Bear with me a second.

  14· · · · A.· Right here?

  15· · · · Q.· You're pointing to the one that says

  16· · CTX HK 2012 to 2019?· Let me open that then,

  17· · it's an Excel spreadsheet.

  18· · · · · · This brings up a blue highlighted --

  19· · the summary tab brings up a blue highlighted

  20· · chart, right?

  21· · · · A.· Correct.

  22· · · · Q.· And it doesn't have additional

  23· · columns like you had done where it says

  24· · payment type?

  25· · · · A.· We had spread it out to show the


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  ·2· · payment type and show the debit memos, but it

  ·3· · still gets to the same $13,492,000, which I

  ·4· · referenced it as the source of the

  ·5· · information.· So I spread it out to make it

  ·6· · easier to compare the other tables.

  ·7· · · · Q.· Okay.· So, okay, so this is the

  ·8· · source file for --

  ·9· · · · A.· Right, there is a few versions of

  10· · it, and if we click on that -- and there was

  11· · also similar information.· Again, there was a

  12· · lot of Excel files going back and forth, but

  13· · that is the source for that $13 million we

  14· · just saw that it agreed.

  15· · · · Q.· Okay.· So I don't recall whether we

  16· · made this an exhibit previously, but so just

  17· · for the purpose of clarity, the Excel

  18· · spreadsheet file that we're looking at, which

  19· · I'm going to make this the next exhibit which

  20· · will be 146, is entitled Benlida shipment and

  21· · payment details, CTX HK 2012 to 2019, right?

  22· · · · A.· Correct.

  23· · · · Q.· And then I will close out of it, Mr.

  24· · Paulikens and you can look at where it

  25· · resides on the folder.· This is the one you


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 ·2· · · · Q.· Okay.

 ·3· · · · A.· You know, there's an overpayment

 ·4· · floating out there.

 ·5· · · · Q.· Okay.· So just, the chart that you

 ·6· · just referred to on page 6 of your report is

 ·7· · the one that's got the blue highlighting

 ·8· · right in the middle of the page?

 ·9· · · · A.· Yes.· And it's like 5.6 million in

 10· · the pretty much center.

 11· · · · Q.· The specific number is 5,633,674.51,

 12· · correct?

 13· · · · A.· Correct.

 14· · · · Q.· Below, this is on page 8 of your

 15· · report of where we just were, you state, CTX

 16· · has underpaid the Benlida Group by

 17· · $13.5 million, right?

 18· · · · A.· Correct.

 19· · · · Q.· What is the Benlida Group, you

 20· · capitalize that?

 21· · · · A.· I call -- well, I'm talking about

 22· · the 13.5 million, which is the HK.· So I

 23· · guess I could have said Benlida, CTX HK

 24· · underpaid by 13.5 million.· So that whole

 25· · paragraph is on the one hand there's a


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